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]N THE UNTI`ED STATES DISTRICT COURT ""`“ D-C.

FoR THE WESTERN DISTRICT oF TENNESSEE SJUN 20 H

WESTERN DIvIsIoN COEEW 'O" 33
United States of America, WLSER(I)\:£§F m -‘ f§;§;§[!@
Plaintirf, 8
vs. Civii No. 05-2140-13 An

One (1) Fraudulent Lebanese Passport,

Defendant.
ORDER

Pursuant to a complaint filed by the United States on Februa_ry 22, 2005 , 2005,
seeking the forfeiture of One (1) Fraudulent Lebanese Passport under the provisions of 18 U.S.C.§
545 and 18 U.S.C. §1028, it is hereby ORDERED:

1. That the Bureau of lmmigration and Customs Enforcernent will seize the defendant
passport and hold said passport subject to the fiirther orders of this Court;

2. That the Bureau of Immigration and Customs Enforcernent will serve a copy of the
complaint on all known claimants to the defendant passport including, without limitation, Jihad‘
Ismail Ali or Jihad Ali Ismail and Haidar Mohamad El Ka.zouini;

3. That the Bureau of lmmigration and Customs Enforcement Will advertise in the Ldy
M, Memphis, Tennessee, for a period of three consecutive weeks, once per week. The
advertisement will notice that the defendant passport was seized by the Bureau of Irnrnigration and
Customs Enforcement from Jihad Ismail Ali on October 6, 2004, in Memphis, Tennessee; that a
Veriiied Complaint of Forfeiture has been filed pursuant to 18 U.S.C.§ 545 and 18 U.S.C. §1028;
and that each party claiming an interest in the said passport must file a claim within thirty (3 0) days

of the notice and an answer to the complaint within twenty (20) days thereafter;

This document entered on the docket sheet in compliance
With Ru|e 58 andfor 79(&1) FFICP on ' 0

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4, The Bureau of Immigration and Customs Enforcement may use the attached legal

notice in the advedisement.

ENTERED: This l 2©" dayo , 2005.

 

 

@'ID STATES DISTRICT`JUDGE

APPROVED:

TERRELL L. HARRIS

United State Atto
By: WV

RISTOPHER E. COTTEN
Assistant United States Attorney
800 Federal Building
Memphis, Tennessee 38103
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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02140 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

